Case 1:04-cr-10lO4-.]DT Document 25 Filed 05/17/05 Pagelon Pa&/L`D,@§ g

 

05 ` "
IN THE UNITED STATES DISTRICT COURT ,. _
FOR THE WESTERN DISTRICT OF TENNESSEE ` .
EASTERN DIVISION /7"
UNITED STATES OF AMERICA,
Plaintiff,
vs. Case No. 1:04cr10104-l

THOMAS J. FLOIED

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond. lt now appears
that the defendant has complied with the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the ( $20,000/10%= $2000.00)appearance bond (receipt J27903 )
for this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum

of $2000.00, payable to: Kay Floied, 139 W. 7th Ave., Lobelville, TN 37097; in full refund of the cash

appearance bond posted herein.

b.M

J . TODD
D STATES DISTRICT JUDGE

 

   

_ /
DATE'.

Approved:

ROBERT Ri DI TROLIO, CLERK OF COURT

BY: ;S&AO”\

Deputy Clerk

This document entered on the docket sheet ln com noe
with Flule 55 andlor 32(b) FRCrP on ©

  

UNITED sTATE DISTRIC COURT - WESTERN D"'TRCT 0 TNNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:04-CR-10104 Was distributed by faX, mail, or direct printing on
May l7, 2005 to the parties listed.

 

 

Victor Lee lvy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Timothy V. Potter
REYNOLDS & POTTER, PLC
210 E. College

Dickson, TN 37056

Honorable J ames Todd
US DISTRICT COURT

